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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE


 HONEYWELL INTERNATIONAL, INC.,                          )
 HAND HELD PRODUCTS, INC., and                           )
 METROLOGIC INSTRUMENTS, INC.,                           )
                                                         )
                         Plaintiffs,                     )
                                                         )   C.A. No. ___________
           v.                                            )
                                                         )
OPTICON, INC.,                                           )   JURY TRIAL DEMANDED
OPTICON SENSORS EUROPE B.V., and                         )
OPTO ELECTRONICS CO., LTD.,                              )
                                                         )
                         Defendants.                     )


                        COMPLAINT FOR PATENT INFRINGEMENT

         Plaintiffs Honeywell International, Inc., Hand Held Products, Inc. and Metrologic

Instruments, Inc. (collectively, “Honeywell” or “Plaintiffs”), by and through their undersigned

counsel, file this Complaint against Defendants Opticon, Inc., Opticon Sensors Europe B.V., and

OPTO Electronics Co., Ltd. (Collectively “Opticon” or “Defendants”) and allege on knowledge

as to their own actions, and upon knowledge and information and belief as to the actions of

others, as follows:

                                   NATURE OF THE ACTION

         1.      This action arises under the patent laws of the United States, 35 U.S.C. §§ 1, et

seq., from Defendants’ infringement of United States Patent No. 9,465,970 (the “970 Patent”),

United States Patent No. 8,978,985 (the “985 Patent”), United States Patent No. 7,148,923 (the

“923 Patent”), United States Patent No. 7,527,206 (the “206 Patent”), United States Patent No.

9,659,199 (the “199 Patent”), United States Patent No. 7,159,783 (the “783 Patent”), and United

States Patent No. 8,794,520 (the “520 Patent”) (collectively, the “Asserted Patents”).



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                                           THE PARTIES

         2.      Plaintiff Honeywell International, Inc. is a Delaware corporation with its principal

place of business at 115 Tabor Road, Morris Plains, NJ 07950.

         3.      Plaintiff Hand Held Products, Inc. is a Delaware corporation and a wholly owned

subsidiary of Honeywell International Inc., with its principal place of business at 9680 Old

Bailes Road, Fort Mill, South Carolina 29707.

         4.      Plaintiff Metrologic Instruments, Inc. is a New Jersey corporation and a wholly

owned subsidiary of Honeywell International Inc., with its principal place of business at 9680

Old Bailes Road, Fort Mill, South Carolina 29707.

         5.      Defendant Opticon, Inc. (“Opticon USA”) is a company organized and existing

under the laws of the State of Delaware, having a principal place of business at 2220 Lind Ave.

SW, Suite 100, Renton, WA 98057-3327.

         6.      Defendant Opticon Sensors Europe B.V. (“Opticon Sensors”) is, upon

information and belief, a company organized and existing under the laws of The Netherlands,

having a principal place of business at Opaallaan 35, 2132 XV Hoofddorp, Netherlands.

         7.      Defendant OPTO Electronics Co., Ltd. (“OPTO”) is, upon information and belief,

a company organized and existing under the laws of Japan, having a principal place of business

at 12-17, Tsukagoshi 4-chrome, Warabi-city Saitama Pref., 335-0002, Japan.

                                    JURISDICTION AND VENUE

         8.      This action arises under the Patent Act, Title 35 of the United States Code, and is

an action for patent infringement under § 271.

         9.      This Court has jurisdiction over the subject matter of this action pursuant to

28 U.S.C. §§ 1331 and 1338(a).



{01454250;v1 }                                     2
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         10.     This Court has personal jurisdiction over Defendants under the laws of this State

and consistent with the underlying due process principles of the U.S. Constitution. As stated,

Defendant Opticon USA is incorporated in this State. See supra at ¶ 5. Opticon Sensors and

OPTO are subject to jurisdiction in the United States, and specifically in the State of Delaware,

pursuant to Rule 4(k)(2) of the Federal Rules of Civil Procedure. Upon information and belief,

Defendants are doing business in this State and District, have significant contacts in this State

and District, have offered for sale and sold infringing products in this State and District, and have

committed acts in this State and District that are the subject of the counts set forth herein.

         11.     Upon information and belief, Defendants manufacture, import, offer for sale, and

sell image-based barcode reading systems and imaging engines to resellers, label manufacturers,

and barcode printer and reader distributors throughout the United States, including in this

District.

         12.     Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(c)(3) and 1400(b).

                    HONEYWELL’S HIGH-PERFORMANCE SCANNERS
                         AND ITS HISTORY OF INNOVATION

         13.     Honeywell has been a pioneer in the barcode scanning industry since the 1960s.

Since that time, thousands of retailers, distributors, healthcare providers and industrial

organizations have used Honeywell’s barcode scanners to improve efficiency, speed, and

accuracy in their operations. The Asserted Patents, described in more detail below, are a

reflection of the breadth of Honeywell’s extensive dedication and investment in barcode

scanning technology.

         14.     Early barcode scanners were designed only to read linear, one-dimensional (1D)

barcodes. 1D barcodes use a series of lines and spaces and variable lengths to encode data.

These linear barcodes can contain only a handful of characters. Accordingly, to encode longer

{01454250;v1 }                                    3
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strings of data, a 1D barcode would need to be physically enlarged or extended, which is not

suitable for all circumstances.




         15.     As a result, various two-dimensional (2D) barcodes, which use shapes to encode

data, were designed. Because data can be encoded based both on a vertical and horizontal

arrangement of shapes, 2D barcodes can encode exponentially more data in the same amount of

space compared to their 1D counterparts.

         16.     The advent of 2D barcodes ushered in a new era with a need for advanced

barcode scanners that could decode these complex arrangements of shapes and sizes. As a

pioneer in advanced 2D barcode scanners, Honeywell developed an array of products with

technologies that allowed barcode scanners to seamlessly read 2D and 1D barcodes. Because of

the complexity of 2D barcodes and the complexity in reading such barcodes, even the slightest

change in lighting, user hand-jitter, or angle of scanning can dramatically affect the ability to

effectively and efficiently decode these barcodes. This complexity, coupled with the need for

speed of decoding, especially in healthcare, retail, and manufacturing settings, underscores the

importance of Honeywell’s technological advances.


{01454250;v1 }                                    4
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         17.     One of Honeywell’s key innovations was the development of global-shutter

technology in CMOS-based barcode scanners. Traditionally, CMOS image sensors used a

rolling shutter technique in which individual rows of pixels in the image sensor were activated

and read out in sequence. This meant that, for example, the top row of pixels in the image sensor

was exposed before the bottom row of pixels. Because rolling shutter involved exposing rows of

pixels sequentially at different times, rolling shutter suffers from two disadvantages: image

distortion and image blur. To overcome these drawbacks, Honeywell engineers developed the

use of global shutter technology in the CMOS image sensor, in which all or substantially all of

the pixels are simultaneously exposed. Exposing all pixels in the sensor simultaneously

addresses each drawback because pixels are not exposed at different points in time during image

capture. Products incorporating global shutter were and still are far superior to scan engines

utilizing rolling shutter, and this innovation resulted in significant commercial success for

Honeywell’s global-shutter products.

         18.     Honeywell has developed technology and software programming that allows

these barcode scanners to adjust automatically, in real-time, to various environmental conditions.

For example, Honeywell developed barcode scanners that can adjust exposure (light) settings on

a frame-by-frame basis, which allows a barcode reader to capture higher-quality images. An

additional innovation was the development of barcode readers capable of adjusting exposure

settings in a real-time fashion in a multitasking operating system environment. Honeywell also

developed barcode reader technology that improves the user experience by reducing apparent

flicker from the illumination LEDs that are utilized during scanning operations while also

improving the ability of the reader to read images on LCD screens. Moreover, Honeywell

developed barcode reader technology that allows the reader to determine the location of a



{01454250;v1 }                                   5
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barcode within the frame and use information regarding the quality of the image at that location

in order to obtain an improved subsequent image. One Honeywell innovation even allows

barcode scanners to be customized using a script-interpreter program. Combined, these

technologies lead to faster decode time and more accurate, concise character output. Barcode

scanners, because of Honeywell’s advancements, can now quickly decode any type of barcode,

regardless of environment, and can automatically adjust to different users to provide quick and

accurate scanning and decoding.

                           OPTICON’S INFRINGING ACTIVITIES

         19.     Opticon has entered the barcode scanning market, and rather than develop its own

technology, Opticon has incorporated Honeywell’s patented technology into its scanning

products. Opticon unfairly competes with Honeywell in the marketplace by offering for sale and

selling these infringing products throughout the United States, and in Delaware. These

infringing products include, but are not limited to, the Opticon L-50X (“L-50X”). The L-50X is

used as a representative infringing product for illustration purposes in this Complaint.

         20.     The Opticon L-50X is a “2D Imager barcode scanner” that “scans and decodes a

wide variety of 1D or 2D barcodes” using a “CMOS area imager sensor.” The L-50X utilizes a

CMOS area image sensor with a scan rate of 60 frames per second.




{01454250;v1 }                                   6
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         21.     The L-50X includes a MDI-3100 scan engine. This scan engine includes a bar

code decoding module configured to decode representations of at least a two-dimensional bar

code in image data captured by an image reader. For example, the MDI-3100 data sheet states

that the MDI-3100 includes a “decoder” that “reads 1D and 2D barcodes.” The scan engine

includes imaging optics and a CMOS global shutter image sensor. Indeed, Opticon advertises

that the MDI-3100 uses “fast global shutter technology providing exceptional motion tolerance

for moving applications.”




{01454250;v1 }                                  7
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         22.     The MDI-3100 includes two red illumination LEDs that project an illumination

pattern on the substrate containing a barcode in order to obtain a properly exposed image. The

MDI-3100 also includes a green aiming LED for projecting an aiming pattern on the target

barcode.




{01454250;v1 }                                  8
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         23.     The MDI-3100 also includes a memory module and a processor, the Atmel

AT91SAM9G20.




{01454250;v1 }                                 9
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         24.     This processor is part of the ARM926EJ-S platform, which is described as

“targeted at multi-tasking applications where full memory management, high performance, low

die size, and low power are all important.”




{01454250;v1 }                                  10
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         25.     Additionally, the MDI-3100 has an “exposure time” data field that can range from

50 to 500000 and a “brightness index value” that can range from 0 to 1023. Upon information

and belief, these values are set in accordance with measurements obtained by the MDI-3100 in

order to capture and decode barcodes. The MDI-3100 includes an “auto trigger” function that

automatically detects a scanned target and starts reading barcodes. Additionally, the MDI-3100

has automatic illumination switching, which memorizes a condition in which a code can be read.

The MDI-3100 is described by Opticon to operate in a reading cycle where the MDI-3100 starts

reading a barcode, gets a decoded image, and if a code is not decoded the MDI-3100 runs

through the reading cycle until a code is decoded. The MDI-3100 is also optimized to be able to

read LCD screens. Further, the MDI-3100 determines the location of a barcode and provides a

“coordinate output” that “allows the data output to be sent with the pixel location of where the

symbol was found.”




{01454250;v1 }                                  11
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         26.     Opticon also provides tools such as the “Universal Config Tool,” which can be

used to configure the MDI-3100 and is described by Opticon as a “Windows-based application

that performs utility functions such as firmware loading on the MDI3x00 and MDI4x00 imager

scan engine based products.”




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         27.     The Universal Config Tool allows a user to create and send scripts to the MDI-

3100.




{01454250;v1 }                                   13
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         28.     Opticon offers for sale and sells its infringing products throughout the United

States and in this District. In particular, and as stated, Opticon USA is incorporated in this

District and, thus, is a resident and Opticon Sensors and OPTO are subject to jurisdiction

pursuant to Rule 4(k)(2) of the Federal Rules of Civil Procedure. See, supra, at ¶ 10.

         29.     Opticon unfairly competes with Honeywell in the marketplace by selling the

infringing products to customers throughout the United States and in this District, including to

Honeywell’s own customers.

         30.     Through its infringing activities, Opticon has caused direct injury to Honeywell

throughout the United States and in Delaware.

                                   THE ASSERTED PATENTS1

         31.     The 970 Patent, entitled “Image Reader Comprising CMOS Based Image Sensor

Array,” issued on October 11, 2016, naming inventors Ynjiun P. Wang and William H. Havens.

The 970 Patent issued from U.S. Patent Application Serial No. 14/221,903, filed on March 21,

2014. The 970 Patent is directed to the use of global-shutter technology to expose substantially

all of the pixels at once in a CMOS-based image sensor, limiting image distortion and blur. A

true and accurate copy of the 970 Patent is attached hereto as Exhibit 1.

         32.     Hand Held Products, Inc. is the owner and assignee of the entire right, title, and

interest in and to the 970 Patent and holds the right to sue and recover damages for infringement

thereof.




1
  All descriptions of the inventions herein are presented to give a general background of those
inventions. Such statements are not intended to be used, nor should be used, for purposes of
patent claim interpretation. Honeywell presents these statements subject to, and without waiver
of, its right to argue that claim terms should be construed in a particular way, as contemplated by
claim interpretation jurisprudence and the relevant evidence.
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         33.     The 985 Patent, entitled “Image Reader Comprising CMOS Based Image Sensor

Array,” issued on March 17, 2015, naming inventors Ynjiun P. Wang and William H. Havens.

The 985 Patent issued from U.S. Patent Application Serial No. 14/273,631, filed on May 19,

2014. The 985 Patent discloses, for example, a barcode reading device using a CMOS image

sensor in a global-shutter mode to decode a 1D or 2D barcode. A true and accurate copy of the

985 Patent is attached hereto as Exhibit 2.

         34.     Hand Held Products, Inc. is the owner and assignee of the entire right, title, and

interest in and to the 985 Patent and holds the right to sue and recover damages for infringement

thereof.

         35.     The 923 Patent, entitled “Methods and Apparatus for Automatic Exposure

Control,” issued on December 12, 2006, naming inventors Jeffrey D. Harper, Robert M. Hussey,

Matthew W. Pankow, and Timothy P. Meier. The 923 Patent issued from U.S. Patent

Application Serial No. 09/903,300, filed on July 11, 2001. The 923 Patent is directed to barcode

reading devices with automated, real-time exposure control in multi-tasking environments and

methods of execution thereof. A true and accurate copy of the 923 Patent is attached hereto as

Exhibit 3.

         36.     Hand Held Products, Inc. is the owner and assignee of the entire right, title, and

interest in and to the 923 Patent and holds the right to sue and recover damages for infringement

thereof.

         37.     The 206 Patent, entitled “Method of Setting the Time Duration of Illumination

From an LED-Based Illumination Array Employed in a Digital Imaging-Based Code Symbol

Reader, Using an Image-Processing Based Illumination Metering Program Executed

Therewithin,” issued on May 5, 2009, naming inventors Xiaoxun Zhu, Yong Liu, Ka Man Au,



{01454250;v1 }                                    15
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Rui Hou, Hongpeng Yu, Xi Tao, Liang Liu, Wenhua Zhang, and Anatoly Kotlarsky. The 206

Patent issued from U.S. Patent Application Serial No. 11/607,114, filed on November 30, 2006.

The 206 Patent is directed to illumination duration measuring and variation within barcode

readers to process and decode optimally illuminated indicia bearing substrates. A true and

accurate copy of the 206 Patent is attached hereto as Exhibit 4.

         38.     Metrologic Instruments, Inc. is the owner and assignee of the entire right, title,

and interest in and to the 206 Patent and holds the right to sue and recover damages for

infringement thereof.

         39.     The 199 Patent, entitled “Terminal with Flicker-Corrected Aimer and Alternating

Illumination,” issued on May 23, 2017, naming inventors Daniel Van Volkinburg, Stephen

Patrick Deloge, Kevin Bower, Matthew Pankow, and Ryan Kather. The 199 Patent issued from

U.S. Patent Application Serial No. 15/176,366, filed on June 8, 2016. The 199 Patent is directed

to a device and method for activating a screen reading mode with reduced flickering to read an

indicia. A true and accurate copy of the 199 Patent is attached hereto as Exhibit 5.

         40.     Hand Held Products, Inc. is the owner and assignee of the entire right, title, and

interest in and to the 199 Patent and holds the right to sue and recover damages for infringement

thereof.

         41.     The 783 Patent, entitled “Customizable Optical Reader,” issued on January 9,

2007, naming inventors Joseph Walczyk, Dieter Fauth, David Holzhauer, Robert M. Hussey,

Barry Keys, Joseph Livingston, and Michael D. Robinson. The 783 Patent issued from U.S.

Patent Application Serial No. 11/203,667, filed on August 12, 2005. The 783 Patent is directed

to a device and method of customizing an optical reader. A true and accurate copy of the 783

Patent is attached hereto as Exhibit 6.



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         42.     Hand Held Products, Inc. is the owner and assignee of the entire right, title, and

interest in and to the 783 Patent and holds the right to sue and recover damages for infringement

thereof.

         43.     The 520 Patent, entitled “Method and Apparatus for Operating Indicia Reading

Terminal Including Parameter Determination,” issued on August 5, 2014, naming inventors

Ynjiun P. Wang and Shulan Deng. The 520 Patent issued from U.S. Patent Application Serial

No. 12/242,244, filed on September 30, 2008. The 520 Patent is directed to a device and method

of determining a parameter in a hand-held barcode reader. A true and accurate copy of the 520

Patent is attached hereto as Exhibit 7.

         44.     Hand Held Products, Inc. is the owner and assignee of the entire right, title, and

interest in and to the 520 Patent and holds the right to sue and recover damages for infringement

thereof.

                  COUNT ONE – INFRINGREMENT OF THE 970 PATENT

         45.     Paragraphs 1 to 44 are incorporated herein by reference as if fully stated herein.

         46.     Defendants have directly and indirectly infringed, and continue to directly and

indirectly infringe, the claims of the 970 Patent in violation of 35 U.S.C. § 271.

         47.     Defendants infringe, contribute to the infringement of, and/or induce infringement

of the 970 Patent by making, using, selling, offering for sale, and/or importing into the United

States products covered by one or more claims of the 970 Patent, including, but not limited to, at

least the L-50X. As discussed, the L-50X includes the MDI-3100 scan engine that reads both 1D

and 2D barcodes using a CMOS image sensor and that has a two-dimensional array of 752 x 480

pixels. The CMOS image sensor in the MDI-3100 operates in a global shutter mode and the

MDI-3100 has illumination light sources in the form of red illumination LEDs.



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         48.     Defendants directly infringe one or more claims of the 970 Patent. Defendants

make, use, sell, offer for sale, and/or import, in this District and elsewhere in the United States,

infringing devices such as the L-50X, and thus directly infringe the 970 Patent.

         49.     Defendants have had knowledge and notice of the 970 Patent at least as early as

the filing of this Complaint.

         50.     Upon information and belief, defendants indirectly infringe the 970 Patent, as

provided in 35 U.S.C. § 271(b), by inducing infringement by others, such as Defendants’

customers, in this District and elsewhere in the United States. For example, Defendants’

customers directly infringe through their use of the inventions claimed in the 970 Patent.

Defendants induce this direct infringement through their affirmative acts of manufacturing,

selling, distributing, and/or otherwise making available the infringing products, such as the L-

50X, and providing instructions, documentation, and other information to customers suggesting

they use the infringing products, such as the L-50X, in an infringing manner, including online

technical support, marketing, product manuals, advertisements, and online documentation. As a

result of Defendants’ inducement, Defendants’ customers use the infringing products, such as the

L-50X, in the way Defendants intend, and directly infringe the 970 Patent. Defendants have

performed and continue to perform these affirmative acts with knowledge of the 970 Patent and

with the intent, or willful blindness, that the induced acts directly infringe the 970 Patent.

         51.     Defendants also indirectly infringe the 970 Patent, as provided by 35 U.S.C.

§ 271(c), by contributing to direct infringement committed by others, such as customers, in this

District and elsewhere in the United States. Defendants’ affirmative acts of selling and offering

to sell, in this District and elsewhere in the United States, infringing products such as the L-50X,

and causing these products to be manufactured, used, sold, and offered for sale, contribute to



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Defendants’ customers’ use of the infringing products, such as the L-50X, such that the 970

Patent is directly infringed. Upon information and belief, Defendants have performed and

continue to perform these affirmative acts with knowledge of the 970 Patent and with intent, or

willful blindness, that they cause the direct infringement of the 970 Patent.

         52.     Defendants’ infringement of the 970 Patent has damaged and will continue to

damage Honeywell.

                  COUNT TWO – INFRINGREMENT OF THE 985 PATENT

         53.     Paragraphs 1 to 52 are incorporated herein by reference as if fully stated herein.

         54.     Defendants have directly and indirectly infringed, and continue to directly and

indirectly infringe, the claims of the 985 Patent in violation of 35 U.S.C. § 271.

         55.     Defendants infringe, contribute to the infringement of, and/or induce infringement

of the 985 Patent by making, using, selling, offering for sale, and/or importing into the United

States products covered by one or more claims of the 985 Patent, including, but not limited to, at

least the L-50X. As discussed, the L-50X includes the MDI-3100 scan engine that reads both 1D

and 2D barcodes using a CMOS image sensor and that has a two-dimensional array of 752 x 480

pixels. The CMOS image sensor in the MDI-3100 operates in a global shutter mode and the

MDI-3100 has illumination light sources in the form of red illumination LEDs. The MDI-3100

can be set to read specific barcodes by discriminating between different barcode symbologies.

         56.     Defendants directly infringe one or more claims of the 985 Patent. Defendants

make, use, sell, offer for sale, and/or import, in this District and elsewhere in the United States,

infringing devices, such as the L-50X, and thus directly infringe the 985 Patent.

         57.     Defendants have had knowledge and notice of the 985 Patent at least as early as

the filing of this Complaint.



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         58.     Upon information and belief, Defendants indirectly infringe the 985 Patent, as

provided in 35 U.S.C. § 271(b), by inducing infringement by others, such as Defendants’

customers, in this District and elsewhere in the United States. For example, Defendants’

customers directly infringe through their use of the inventions claimed in the 985 Patent.

Defendants induce this direct infringement through their affirmative acts of manufacturing,

selling, distributing, and/or otherwise making available the infringing products, such as the L-

50X, and providing instructions, documentation, and other information to customers suggesting

they use the infringing products, such as the L-50X, in an infringing manner, including online

technical support, marketing, product manuals, advertisements, and online documentation. As a

result of Defendants’ inducement, Defendants’ customers use the infringing products, such as the

L-50X, in the way Defendants intend, and directly infringe the 985 Patent. Defendants have

performed and continue to perform these affirmative acts with knowledge of the 985 Patent and

with the intent, or willful blindness, that the induced acts directly infringe the 985 Patent.

         59.     Defendants also indirectly infringe the 985 Patent, as provided by 35 U.S.C.

§ 271(c), by contributing to direct infringement committed by others, such as customers, in this

District and elsewhere in the United States. Defendants’ affirmative acts of selling and offering

to sell, in this District and elsewhere in the United States, infringing products such as the L-50X,

and causing these products to be manufactured, used, sold, and offered for sale, contribute to

Defendants’ customers’ use of the infringing products, such as the L-50X, such that the 985

Patent is directly infringed. Upon information and belief, Defendants have performed and

continue to perform these affirmative acts with knowledge of the 985 Patent and with intent, or

willful blindness, that they cause the direct infringement of the 985 Patent.




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         60.     Defendants’ infringement of the 985 Patent has damaged and will continue to

damage Honeywell.

                 COUNT THREE – INFRINGREMENT OF THE 923 PATENT

         61.     Paragraphs 1 to 60 are incorporated herein by reference as if fully stated herein.

         62.     Defendants have directly and indirectly infringed, and continue to directly and

indirectly infringe, the claims of the 923 Patent in violation of 35 U.S.C. § 271.

         63.     Defendants infringe, contribute to the infringement of, and/or induce infringement

of the 923 Patent by making, using, selling, offering for sale, and/or importing into the United

States products covered by one or more claims of the 923 Patent, including, but not limited to, at

least the L-50X. As discussed, the Opticon L-50X is a barcode reading device incorporating the

Opticon MDI-3100 scan engine. The MDI-3100 has an optics imaging system in connection

with a CMOS image sensor, a memory for storing image data, and a processor (Atmel

AT91SAM9G20) for decoding the image data. The processor includes a multitasking OS with

high and low priority modules that provide imaging system control processing and image

decoding capabilities, respectively.

         64.     Defendants directly infringe one or more claims of the 923 Patent. Defendants

make, use, sell, offer for sale, and/or import, in this District and elsewhere in the United States,

infringing devices, such as the L-50X, and thus directly infringe the 923 Patent.

         65.     Defendants have had knowledge and notice of the 923 Patent at least as early as

the filing of this Complaint.

         66.     Upon information and belief, Defendants indirectly infringe the 923 Patent, as

provided in 35 U.S.C. § 271(b), by inducing infringement by others, such as Defendants’

customers, in this District and elsewhere in the United States. For example, Defendants’



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customers directly infringe through their use of the inventions claimed in the 923 Patent.

Defendants induce this direct infringement through their affirmative acts of manufacturing,

selling, distributing, and/or otherwise making available the infringing products, such as the L-

50X, and providing instructions, documentation, and other information to customers suggesting

they use the infringing products, such as the L-50X, in an infringing manner, including online

technical support, marketing, product manuals, advertisements, and online documentation. As a

result of Defendants’ inducement, Defendants’ customers use the infringing products, such as the

L-50X, in the way Defendants intend, and directly infringe the 923 Patent. Defendants have

performed and continue to perform these affirmative acts with knowledge of the 923 Patent and

with the intent, or willful blindness, that the induced acts directly infringe the 923 Patent.

         67.     Defendants also indirectly infringe the 923 Patent, as provided by 35 U.S.C.

§ 271(c), by contributing to direct infringement committed by others, such as customers, in this

District and elsewhere in the United States. Defendants’ affirmative acts of selling and offering

to sell, in this District and elsewhere in the United States, infringing products such as the L-50X,

and causing these products to be manufactured, used, sold, and offered for sale, contribute to

Defendants’ customers’ use of the infringing products, such as the L-50X, such that the 923

Patent is directly infringed. Upon information and belief, Defendants have performed and

continue to perform these affirmative acts with knowledge of the 923 Patent and with intent, or

willful blindness, that they cause the direct infringement of the 923 Patent.

         68.     Defendants’ infringement of the 923 Patent has damaged and will continue to

damage Honeywell.

                   COUNT FOUR – INFRINGREMENT OF THE 206 PATENT

         69.     Paragraphs 1 to 68 are incorporated herein by reference as if fully stated herein.



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         70.     Defendants have directly and indirectly infringed, and continue to directly and

indirectly infringe, the claims of the 206 Patent in violation of 35 U.S.C. § 271.

         71.     Defendants infringe, contribute to the infringement of, and/or induce infringement

of the 206 Patent by making, using, selling, offering for sale, and/or importing into the United

States products covered by one or more claims of the 206 Patent, including, but not limited to, at

least the L-50X. As discussed, the Opticon L-50X is a barcode reading device incorporating the

Opticon MDI-3100 scan engine. The L-50X has a housing with a transmission window for the

MDI-3100, which includes an image formation and detection subsystem made up of an optics

imaging assembly and a CMOS image sensor that has a particular field of view relative to the

transmission window. The L-50X further includes a trigger switch to generate a trigger event

when actuated. The MDI-3100 also includes an illumination subsystem made up of LEDs,

where the illumination projected by the LEDs can be measured and, subsequently, controlled

based on said measurement. The MDI-3100 additionally has a processor that is operable to

decode barcodes and control the subsystems discussed above.

         72.     Defendants directly infringe one or more claims of the 206 Patent. Defendants

make, use, sell, offer for sale, and/or import, in this District and elsewhere in the United States,

these devices and thus directly infringe the 206 Patent.

         73.     Defendants have had knowledge and notice of the 206 Patent at least as early as

the filing of this Complaint.

         74.     Upon information and belief, Defendants indirectly infringe the 206 Patent, as

provided in 35 U.S.C. § 271(b), by inducing infringement by others, such as Defendants’

customers, in this District and elsewhere in the United States. For example, Defendants’

customers directly infringe through their use of the inventions claimed in the 206 Patent.



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Defendants induce this direct infringement through their affirmative acts of manufacturing,

selling, distributing, and/or otherwise making available the infringing products, such as the L-

50X, and providing instructions, documentation, and other information to customers suggesting

they use the infringing products, such as the L-50X, in an infringing manner, including online

technical support, marketing, product manuals, advertisements, and online documentation. As a

result of Defendants’ inducement, Defendants’ customers use the infringing products, such as the

L-50X, in the way Defendants intend and directly infringe the 206 Patent. Defendants have

performed and continue to perform these affirmative acts with knowledge of the 206 Patent and

with the intent, or willful blindness, that the induced acts directly infringe the 206 Patent.

         75.     Defendants also indirectly infringe the 206 Patent, as provided by 35 U.S.C.

§ 271(c), by contributing to direct infringement committed by others, such as customers, in this

District and elsewhere in the United States. Defendants’ affirmative acts of selling and offering

to sell, in this District and elsewhere in the United States, infringing products, such as the L-50X,

and causing these products to be manufactured, used, sold, and offered for sale contribute to

Defendants’ customers’ use of the infringing products, such as the L-50X, such that the 206

Patent is directly infringed. Upon information and belief, Defendants have performed and

continue to perform these affirmative acts with knowledge of the 206 Patent and with intent, or

willful blindness, that they cause the direct infringement of the 206 Patent.

         76.     Defendants’ infringement of the 206 Patent has damaged and will continue to

damage Honeywell.

                  COUNT FIVE – INFRINGREMENT OF THE 199 PATENT

         77.     Paragraphs 1 to 76 are incorporated herein by reference as if fully stated herein.




{01454250;v1 }                                    24
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         78.     Defendants have directly and indirectly infringed, and continue to directly and

indirectly infringe, the claims of the 199 Patent in violation of 35 U.S.C. § 271.

         79.     Defendants infringe, contribute to the infringement of, and/or induce infringement

of the 199 Patent by making, using, selling, offering for sale, and/or importing into the United

States products covered by one or more claims of the 199 Patent, including, but not limited to, at

least the L-50X. As discussed, the Opticon L-50X is a barcode reading device incorporating the

Opticon MDI-3100 scan engine. The MDI-3100 has an imaging subsystem made up of a CMOS

image sensor, an imaging optics assembly situated in connection with the image sensor, and a

processor to decode the bar codes. Further, the MDI-3100 is operable to project an illumination

pattern and a separate aiming pattern using LEDs. The illumination LEDs are operable to

alternate between illuminated and unilluminated modes, allowing the MDI-3100 to acquire

frames of image data both while illumination is on and while illumination is off.

         80.     Defendants directly infringe one or more claims of the 199 Patent. Defendants

make, use, sell, offer for sale, and/or import, in this District and elsewhere in the United States,

infringing devices, such as the L-50X, and thus directly infringe the 199 Patent.

         81.     Defendants have had knowledge and notice of the 199 Patent at least as early as

the filing of this Complaint.

         82.     Upon information and belief, Defendants indirectly infringe the 199 Patent, as

provided in 35 U.S.C. § 271(b), by inducing infringement by others, such as Defendants’

customers, in this District and elsewhere in the United States. For example, Defendants’

customers directly infringe through their use of the inventions claimed in the 199 Patent.

Defendants induce this direct infringement through their affirmative acts of manufacturing,

selling, distributing, and/or otherwise making available the infringing products, such as the L-



{01454250;v1 }                                   25
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50X, and providing instructions, documentation, and other information to customers suggesting

they use the infringing products, such as the L-50X, in an infringing manner, including online

technical support, marketing, product manuals, advertisements, and online documentation. As a

result of Defendants’ inducement, Defendants’ customers use the infringing products, such as the

L-50X, in the way Defendants intend and directly infringe the 199 Patent. Defendants have

performed and continue to perform these affirmative acts with knowledge of the 199 Patent and

with the intent, or willful blindness, that the induced acts directly infringe the 199 Patent.

         83.     Defendants also indirectly infringe the 199 Patent, as provided by 35 U.S.C.

§ 271(c), by contributing to direct infringement committed by others, such as customers, in this

District and elsewhere in the United States. Defendants’ affirmative acts of selling and offering

to sell, in this District and elsewhere in the United States, infringing products such as the L-50X,

and causing these products to be manufactured, used, sold, and offered for sale, contribute to

Defendants’ customers’ use of the infringing products, such as the L-50X, such that the 199

Patent is directly infringed. Upon information and belief, Defendants have performed and

continue to perform these affirmative acts with knowledge of the 199 Patent and with intent, or

willful blindness, that they cause the direct infringement of the 199 Patent.

         84.     Defendants’ infringement of the 199 Patent has damaged and will continue to

damage Honeywell.

                   COUNT SIX – INFRINGREMENT OF THE 783 PATENT

         85.     Paragraphs 1 to 84 are incorporated herein by reference as if fully stated herein.

         86.     Defendants have directly and indirectly infringed, and continue to directly and

indirectly infringe, the claims of the 783 Patent in violation of 35 U.S.C. § 271.




{01454250;v1 }                                    26
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         87.     Defendants infringe, contribute to the infringement of, and/or induce infringement

of the 783 Patent by making, using, selling, offering for sale, and/or importing into the United

States products covered by one or more claims of the 783 Patent, including, but not limited to, at

least the L-50X. As discussed, the Opticon L-50X is a barcode reading device incorporating the

Opticon MDI-3100 scan engine. The MDI-3100 has a control circuit to control a CMOS image

sensor, a memory, a processor and firmware, where the processor executes a main operating

program storing instructions in the memory and firmware. Further, Opticon provides a

configuration program called Universal Config Tool, which provides instructions that are

executed by a script interpreter program by the processor.

         88.     Defendants directly infringe one or more claims of the 783 Patent. Defendants

make, use, sell, offer for sale, and/or import, in this District and elsewhere in the United States,

infringing products, such as the L-50X, and thus directly infringe the 783 Patent.

         89.     Defendants have had knowledge and notice of the 783 Patent at least as early as

the filing of this Complaint.

         90.     Upon information and belief, Defendants indirectly infringe the 783 Patent, as

provided in 35 U.S.C. § 271(b), by inducing infringement by others, such as Defendants’

customers, in this District and elsewhere in the United States. For example, Defendants’

customers directly infringe through their use of the inventions claimed in the 783 Patent.

Defendants induce this direct infringement through their affirmative acts of manufacturing,

selling, distributing, and/or otherwise making available the infringing products, such as the L-

50X, and providing instructions, documentation, and other information to customers suggesting

they use the infringing products, such as the L-50X, in an infringing manner, including online

technical support, marketing, product manuals, advertisements, and online documentation. As a



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result of Defendants’ inducement, Defendants’ customers use the infringing products, such as the

L-50X, in the way Defendants intend, and directly infringe the 783 Patent. Defendants have

performed and continue to perform these affirmative acts with knowledge of the 783 Patent and

with the intent, or willful blindness, that the induced acts directly infringe the 783 Patent.

         91.     Defendants also indirectly infringe the 783 Patent, as provided by 35 U.S.C.

§ 271(c), by contributing to direct infringement committed by others, such as customers, in this

District and elsewhere in the United States. Defendants’ affirmative acts of selling and offering

to sell, in this District and elsewhere in the United States, infringing products, such as the L-50X,

and causing these products to be manufactured, used, sold, and offered for sale contribute to

Defendants’ customers’ use of the infringing products, such as the L-50X, such that the 783

Patent is directly infringed. Upon information and belief, Defendants have performed and

continue to perform these affirmative acts with knowledge of the 783 Patent and with intent, or

willful blindness, that they cause the direct infringement of the 783 Patent.

         92.     Defendants’ infringement of the 783 Patent has damaged and will continue to

damage Honeywell.

                 COUNT SEVEN – INFRINGREMENT OF THE 520 PATENT

         93.     Paragraphs 1 to 92 are incorporated herein by reference as if fully stated herein.

         94.     Defendants have directly and indirectly infringed, and continue to directly and

indirectly infringe, the claims of the 783 Patent in violation of 35 U.S.C. § 271.

         95.     Defendants infringe, contribute to the infringement of, and/or induce infringement

of the 520 Patent by making, using, selling, offering for sale, and/or importing into the United

States products covered by one or more claims of the 520 Patent, including, but not limited to, at

least the L-50X. The Opticon L-50X is a barcode reading device incorporating the Opticon



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MDI-3100 scan engine. The MDI-3100 includes an optics assembly in connection with a CMOS

image sensor. The L-50X has a handheld housing surrounding the MDI-3100, including the

MDI-3100 image sensor, and a trigger to initiate a decode attempt. The L-50X is capable of

determining the location of a barcode in an image frame by determining the coordinates of the

barcode. Further, upon information and belief, it uses the frame image data of the determined

barcode location to determine an imaging parameter, including at least the exposure period, gain,

and illumination level parameter. Finally, upon information and belief, it is operable to use the

determined imaging parameter to capture a subsequent frame of image data, where it adjusts the

imaging parameter based on the determination.

         96.     Defendants directly infringe one or more claims of the 520 Patent. Defendants

make, use, sell, offer for sale, and/or import, in this District and elsewhere in the United States,

infringing products, such as the L-50X, and thus directly infringe the 520 Patent.

         97.     Defendants have had knowledge and notice of the 520 Patent at least as early as

the filing of this Complaint.

         98.     Upon information and belief, Defendants indirectly infringe the 520 Patent, as

provided in 35 U.S.C. § 271(b), by inducing infringement by others, such as Defendants’

customers, in this District and elsewhere in the United States. For example, Defendants’

customers directly infringe through their use of the inventions claimed in the 520 Patent.

Defendants induce this direct infringement through their affirmative acts of manufacturing,

selling, distributing, and/or otherwise making available the infringing products, such as the L-

50X, and providing instructions, documentation, and other information to customers suggesting

they use the infringing products, such as the L-50X, in an infringing manner, including online

technical support, marketing, product manuals, advertisements, and online documentation. As a



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result of Defendants’ inducement, Defendants’ customers use the infringing products, such as the

L-50X, in the way Defendants intend, and directly infringe the 520 Patent. Defendants have

performed and continue to perform these affirmative acts with knowledge of the 520 Patent and

with the intent, or willful blindness, that the induced acts directly infringe the 520 Patent.

         99.     Defendants also indirectly infringe the 520 Patent, as provided by 35 U.S.C.

§ 271(c), by contributing to direct infringement committed by others, such as customers, in this

District and elsewhere in the United States. Defendants’ affirmative acts of selling and offering

to sell, in this District and elsewhere in the United States, infringing products, such as the L-50X,

and causing these products to be manufactured, used, sold, and offered for sale, contribute to

Defendants’ customers’ use of the infringing products, such as the L-50X, such that the 520

Patent is directly infringed. Upon information and belief, Defendants have performed and

continue to perform these affirmative acts with knowledge of the 520 Patent and with intent, or

willful blindness, that they cause the direct infringement of the 520 Patent.

         100.    Defendants’ infringement of the 520 Patent has damaged and will continue to

damage Honeywell.

                                            DAMAGES

         101.    As a result of Opticon’s acts of infringement, Honeywell has suffered actual and

consequential damages. However, Honeywell does not yet know the full extent of the

infringement and its extent cannot be ascertained except through discovery and special

accounting. To the fullest extent permitted by law, Honeywell seeks recovery of damages at

least for reasonable royalties, unjust enrichment, and benefits received by Opticon as a result of

using misappropriated Honeywell technology. Honeywell further seeks all other damages to

which Honeywell is entitled under law or in equity.



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                                    DEMAND FOR JURY TRIAL

         102.    Honeywell hereby respectfully requests a jury trial for all issues so triable.

                                     REQUEST FOR RELIEF

WHEREFORE, Honeywell respectfully requests the following relief:

    A. the entry of judgment on the Complaint, including all claims, causes of action, and

         requests for relief therein, in favor of Honeywell and against Opticon;

    B. the entry of judgment that Opticon infringes the Asserted Patents;

    C. the entry of judgment that Opticon’s infringement of the Asserted Patents has been and

         continues to be willful;

    D. the entry of judgment against Opticon, awarding Honeywell actual damages in an amount

         sufficient to compensate Honeywell for Opticon’s direct and indirect infringement of the

         Asserted Patents, until such time as Opticon ceases its infringing conduct;

    E. the entry of judgment against Opticon, awarding Honeywell enhanced damages pursuant

         to 35 U.S.C. § 284;

    F. the entry of judgment against Opticon, awarding Honeywell pre-judgment and post-

         judgment interest to the full extent allowed under the law, as well as its costs;

    G. a determination that this is an exceptional case, and an award to Honeywell of its

         reasonable attorneys’ fees pursuant to 35 U.S.C. § 285;

    H. an order for an accounting of damages for Opticon’s acts of infringement;

    I. an award to Honeywell of its costs of suit;

    J. the entry of a permanent injunction, enjoining Defendants, their officers, directors,

         agents, employees, parents, subsidiaries, affiliates, licensees, successors, and assigns, and




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         those acting in concert or participation with them, from further acts of direct and/or

         indirect infringement of the Asserted Patents; and

    K. an award to Honeywell of such further and additional relief, whether legal or equitable,

         that Honeywell requests, that the Court determines Honeywell to be entitled, or that the

         Court deems just and proper.



                                                       ASHBY & GEDDES

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